(1 of 44), Page 1 of 44           Case: 24-1588, 03/31/2025,
                                                 02/07/2025, DktEntry: 114.2,
                                                                       108.1, Page 1 of 44




             24-1588 (L)
             In Re: Two Grand Jury Subpoenas Dated September 13, 2023




                                            UNITED STATES COURT OF APPEALS
                                                  FOR THE SECOND CIRCUIT



                                                             August Term, 2024

                                (Argued: September 18, 2024             Decided: February 7, 2025)

                                           Docket Nos. 24-1588-cv (L), 24-1589-cv (Con)



                               IN RE: GRAND JURY SUBPOENAS DATED SEPTEMBER 13, 2023



                                                    UNITED STATES OF AMERICA,

                                                                                 Movant-Appellee,

                                                                   — v. —

                     SEALED APPELLANT 1, SEALED APPELLANT 2, AND SEALED APPELLANT 3,

                                                                                 Respondents-Appellants.*


             B e f o r e:

                                      LYNCH, ROBINSON, AND MERRIAM, Circuit Judges.

                                                          __________________


             *
              The Clerk of Court is respectfully directed to amend the official caption in this case to
             conform to the caption above.
(2 of 44), Page 2 of 44    Case: 24-1588, 03/31/2025,
                                          02/07/2025, DktEntry: 114.2,
                                                                108.1, Page 2 of 44




                    Sealed Appellant 1, the former Chief Executive Officer (“CEO”) of a
             publicly traded company (“the Company”) and the subject of an ongoing grand
             jury investigation, and Sealed Appellants 2 and 3, a lawyer and law firm,
             respectively, that formerly represented Sealed Appellant 1 and the Company,
             appeal from an order of the United States District Court for the Southern District
             of New York (Caproni, J.) compelling Sealed Appellants 2 and 3 to produce
             documents withheld under a claim of attorney-client privilege in response to
             subpoenas issued by the grand jury. The district court held that the crime-fraud
             exception to attorney-client privilege applies to the subpoenaed documents,
             concluding that there was probable cause to believe that certain communications
             between Sealed Appellants 1 and 2 were made in furtherance of, among other
             violations, Sealed Appellant 1’s attempts to criminally circumvent the Company’s
             “legal contracts” control, which required the Company’s legal department to
             review all significant contracts.
                    After first concluding that we have appellate jurisdiction over this appeal,
             we conclude that the crime-fraud exception applies to the communications at
             issue. Accordingly, we AFFIRM the district court’s order compelling production
             of the documents.




                          ROBERT W. ALLEN, Kirkland & Ellis LLP, New York, NY (Patrick
                               Gallagher and Yi Yuan, Kirkland & Ellis LLP, New York, NY,
                               and Michael M. Purpura, Hueston Hennigan, Newport
                               Beach, CA on the brief), for Sealed Appellant 1.

                          BENJAMIN S. FISCHER, Morvillo Abramowitz Grand Iason & Anello
                               PC, New York, NY (Elkan Abramowitz, Thomas A. McKay,
                               Peter Menz, and Abbe Ben-David, Morvillo Abramowitz
                               Grand Iason & Anello PC, New York, NY on the brief), for
                               Sealed Appellants 2 and 3.

                          SARAH MORTAZAVI, Assistant United States Attorney (Emily
                               Johnson, Jared Lenow, and Danielle Sassoon, Assistant



                                                      2
(3 of 44), Page 3 of 44     Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 3 of 44




                                  United States Attorneys on the brief), for Damian Williams,
                                  United States Attorney for the Southern District of New York.



             GERARD E. LYNCH, Circuit Judge:

                    Sealed Appellant 1 is the former Chief Executive Officer (“CEO”) of a

             publicly traded company (“the Company”). He is also the subject of an ongoing

             grand jury investigation concerning whether, as CEO, he engaged in a criminal

             scheme to circumvent the Company’s internal accounting controls – a violation of

             15 U.S.C. §§ 78m(b)(2), 78m(b)(5) and 78ff(a) – and mislead Company auditors – a

             violation of 15 U.S.C. §§ 7202, 7242, and 78ff(a) and 17 C.F.R. § 240.13b2-2 – in

             order to conceal multiple allegations of sexual misconduct raised against him by

             two former Company employees (“Victims 1 and 2”).1 Sealed Appellants 2 and 3

             are a lawyer and law firm, respectively, that represented Sealed Appellant 1 and

             the Company. As part of its investigation, the grand jury subpoenaed Sealed

             Appellants 2 and 3 for documents reflecting communications between them and

             Sealed Appellant 1 concerning Victim 1’s and Victim 2’s allegations.


             1
               This appeal concerns proceedings currently before a grand jury. At present, no
             indictments have been issued. Proceedings before the district court and before this court
             were held in a closed courtroom, and the record and briefs are under seal. In order to
             preserve the anonymity of the parties, we use pseudonyms and reveal only those facts
             necessary to our decision.

                                                         3
(4 of 44), Page 4 of 44     Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 4 of 44




                    Responding to these subpoenas, Sealed Appellants 2 and 3 withheld a

             subset of responsive documents based on assertions of attorney-client privilege

             raised by Sealed Appellant 1. The government then moved to compel Sealed

             Appellants 2 and 3 to produce those documents, arguing primarily that any

             privilege was defeated by the crime-fraud exception, which permits the

             government to obtain access to otherwise privileged communications that

             furthered an ongoing or future crime or fraud.

                    The district court (Valerie E. Caproni, J.) agreed with the government. It

             concluded that the crime-fraud exception applied because the government had

             “established probable cause to believe” that (1) “[Sealed Appellant 2] and [Sealed

             Appellant 1] circumvented [the Company’s] internal controls and created false

             books and records in violation of 15 U.S.C. §§ 78m(b)(2), 78m(b)(5) and 78ff and

             18 U.S.C. § 2, when they concealed the Victims’ claims and settlement agreements

             from [the Company],” and (2) “they made false and misleading statements to the

             Company’s auditors, in violation of 15 U.S.C. §§ 7202, 7242, and 78ff, 18 U.S.C.

             § 2, and 17 C.F.R. § 240.13b2-2.” Special App’x at 11.2 As a result, the court


             2
              The abbreviation “Special App’x” refers to the Special Appendix, which contains the
             district court’s sealed opinion and order. The abbreviation “Joint App’x” refers to the
             parties’ Joint Appendix, which was also filed under seal. We see no basis for sealing or

                                                         4
(5 of 44), Page 5 of 44      Case: 24-1588, 03/31/2025,
                                            02/07/2025, DktEntry: 114.2,
                                                                  108.1, Page 5 of 44




             ordered Sealed Appellants 2 and 3 to produce a sizeable portion of the withheld

             documents. Sealed Appellants 1, 2, and 3 now appeal from that order.

                    Generally, disclosure orders are not final and therefore not appealable.

             Instead, the party subject to the order normally must first disobey the order and

             be held in contempt before the case is eligible for appeal. United States v. Punn,

             737 F.3d 1, 5 (2d Cir. 2013). Here, neither Sealed Appellant 2 nor Sealed

             Appellant 3 has defied the district court’s order and been held in contempt.

                    Sealed Appellant 1 argues that we nevertheless have jurisdiction under a

             different, narrower exception to the final order rule established in Perlman v.

             United States, 247 U.S. 7 (1918). That exception allows the subject of a grand jury

             investigation to appeal a privilege order directly when the subject’s privileged

             information is in the hands of a third party that is likely to disclose the

             information rather than subject itself to contempt. Punn, 737 F.3d at 6. We have



             redacting this opinion that would outweigh the public’s right of access to judicial
             documents necessary to understand the basis for our decision.

             However, certain sealed information in the Special Appendix or the Joint Appendix is
             necessary to explain our reasoning. To the extent that our discussion of such
             information – even obliquely – requires unsealing, those words, only as they appear
             within this opinion, are unsealed. The underlying documents shall remain sealed. See
             generally Fed. R. Civ. P. 6(e); Lawyers’ Comm. for 9/11 Inquiry, Inc. v. Garland, 43 F.4th 276
             (2d Cir. 2022).

                                                           5
(6 of 44), Page 6 of 44     Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 6 of 44




             held that the exception provides us with jurisdiction when a client’s attorneys

             have been ordered to produce his privileged materials to a grand jury over the

             client’s objection. In re Grand Jury Subpoena Duces Tecum Dated Sept. 15, 1983

             (“Subpoena Duces Tecum Dated Sept. 15, 1983"), 731 F.2d 1032, 1036 n.3 (2d Cir.

             1984); In re Katz, 623 F.2d 122, 124 (2d Cir. 1980). Because those are the facts here,

             we have jurisdiction over Sealed Appellant 1’s appeal under the Perlman

             exception.

                    On the merits, we see no abuse of discretion in the district court’s

             application of the crime-fraud exception to the attorney-client privilege. The

             district court did not clearly err in finding that one of the Company’s internal

             controls required that all significant contracts be submitted to its legal

             department for review – in fact, its finding was based on Sealed Appellant 1’s

             own statement to the Company’s auditor that such a control was in place. It also

             did not clearly err in finding that the agreements, which addressed allegations of

             serious workplace sexual misconduct by the Company’s CEO and involved

             millions of dollars in payments, were significant for purposes of that control.

             Finally, it did not clearly err in finding that Sealed Appellant 1 and Sealed

             Appellant 2’s communications about the agreements helped to shield them from


                                                       6
(7 of 44), Page 7 of 44     Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 7 of 44




             the Company’s legal department, circumventing that control. As a result, the

             district court did not abuse its discretion in holding that the crime-fraud

             exception applied.

                    We therefore AFFIRM the judgment of the district court.

                                               BACKGROUND3

             I.     The Legal Contracts Control

                    During the period relevant here, the Company was a public company

             listed on the New York Stock Exchange. For decades, Sealed Appellant 1 had

             been the Company’s CEO and the Chairman of its Board of Directors.

                    As a public company, the Company was legally required to maintain

             accurate books and records and to “devise and maintain a system of internal

             accounting controls sufficient to provide reasonable assurances that . . .

             transactions are recorded as necessary” to support accurate accounting. See 15

             U.S.C. § 78m(b)(2). Its principal officers were also required to certify yearly that

             they were “responsible for establishing and maintaining internal controls . . .


             3
              The following background is based on facts presented without contest by the parties in
             their briefing and facts found by the district court following its review of the
             documentary record. As discussed below, we review the district court’s factual findings
             under a clearly erroneous standard. United States v. Mejia, 655 F.3d 126, 131–32 (2d Cir.
             2011).

                                                         7
(8 of 44), Page 8 of 44    Case: 24-1588, 03/31/2025,
                                          02/07/2025, DktEntry: 114.2,
                                                                108.1, Page 8 of 44




             [and] ha[d] designed such internal controls to ensure that material information

             relating to the [company] . . . is made known to [them].” 15 U.S.C. § 7241(a). In

             keeping with those obligations and his role as CEO, Sealed Appellant 1

             repeatedly certified that he was responsible for establishing and maintaining

             effective internal controls for the Company.

                    When asked by the Company’s auditors in 2019 to identify specific controls

             that helped ensure the accuracy and reliability of the Company’s financial

             records, Sealed Appellant 1 explained that, among other measures, “[the l]egal

             department reviews all significant contracts.” Joint App’x at 228. Later, when

             identifying “process level control activities” the Company had put in place to

             combat potential corruption, the auditors’ 2018 Fraud Risk Assessment relied on

             that assertion, indicating that “[a]ll contracts are reviewed by the Legal

             Department.” Id. at 146. As a result of that control, in combination with others,

             the auditor assessed the risk of corruption faced by the Company to be “low.” Id.

             II.    Sealed Appellant 2’s Legal Services Regarding the Victim 1 and 2
                    Agreements

                    During his tenure leading the Company, Sealed Appellant 1 relied for legal

             advice on Sealed Appellant 2, a partner at the law firm Sealed Appellant 3. Even



                                                       8
(9 of 44), Page 9 of 44    Case: 24-1588, 03/31/2025,
                                          02/07/2025, DktEntry: 114.2,
                                                                108.1, Page 9 of 44




             as to the corporate client, the relationship between Sealed Appellant 1 and Sealed

             Appellant 2 was a close one: Sealed Appellant 2 noted that unlike the typical

             outside counsel, he maintained direct contact with Sealed Appellant 1, not just

             the Company’s general counsel. Sealed Appellant 2 represented both the

             Company and Sealed Appellant 1 personally throughout the relevant period.

                    Between 2018 and 2022, Sealed Appellant 2 helped Sealed Appellant 1

             negotiate two non-disclosure agreements to which the Company was a party but

             which were not disclosed to the Company’s in-house legal department or its

             auditors. Both agreements were made with female former Company employees

             who had accused Sealed Appellant 1 of sexual misconduct.

                    A.    Victim 1 Agreement

                    In 2018, Victim 1 sought a meeting with Sealed Appellant 1 to discuss

             allegations that he had sexually harassed and assaulted her. Victim 1 had worked

             for the Company in 2004 and 2005. On December 3, 2018, her lawyer sent Sealed

             Appellant 2 a demand letter alleging that Sealed Appellant 1 had attempted to

             kiss her, exposed himself to her, and obtained non-consensual oral sex from her,

             all while she was employed by the Company. The letter stated that Victim 1

             believed that “her career ended because she refused to engage in consensual sex


                                                      9
(10 of 44), Page 10 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 10 of 44




             with [Sealed Appellant 1].” Id. at 110. Though the letter did not contain an

             express threat to sue, it noted that Victim 1 sought $18 million for “resolution of

             any and all claims [Victim 1] has or may have against [the Company] and/or

             [Sealed Appellant 1].” Id. at 111. Sealed Appellant 2 apparently forwarded this

             letter to Sealed Appellant 1, and they exchanged messages the following day –

             two from Sealed Appellant 1 via email and another from Sealed Appellant 2 via

             text.

                     On or about December 10, Sealed Appellant 1 and Victim 1 met to discuss

             her claims and agreed on a settlement amount of $7.5 million. Sealed Appellants

             1 and 2 texted and called each other repeatedly over the next few days, including

             an approximately two-and-a-half hour call on December 22.

                     On January 7, 2019, Sealed Appellant 2 texted Sealed Appellant 1 a

             document titled “Settlement Agreement (Page Nos).pdf.”Id. at 121. That night,

             Sealed Appellant 2 emailed a document with the same title to Victim 1’s lawyer,

             asking him to “[p]lease obtain the necessary signatures and return [the] same to

             me.”Id. at 149. As the title indicated, the attachment was a proposed settlement

             agreement. It provided that Sealed Appellant 1 would cause Victim 1 to be paid

             $7.5 million in installments over five years in exchange for confidentiality and a


                                                       10
(11 of 44), Page 11 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 11 of 44




             release of any claims she or her husband had or might have had against Sealed

             Appellant 1 or the Company.

                    Following negotiations and revisions, Victim 1’s lawyer informed Sealed

             Appellant 2 that they “ha[d] a deal” and that his client would execute the

             agreement. Id. at 756. Though certain provisions were added or altered from the

             original draft – including a provision that contemplated Victim 1’s one day

             writing a book about her life story, possibly after Sealed Appellant 1’s death – the

             fundamental terms of $7.5 million for confidentiality and a release remained

             consistent. The agreement specified that Sealed Appellant 1 would “cause . . .

             [this money] to be paid” to Victim 1, though the source of the funds was not

             specified. Id. at 235. However, the agreement did clarify that in the event that

             Victim 1 broke her promise to keep her allegations confidential, “neither [Sealed

             Appellant 1] nor [the Company] shall have any obligation to make any payments

             set forth above.” Id. at 236. Victim 1’s lawyer also sent Sealed Appellant 2 the

             information for the client trust account to which Sealed Appellant 1 could wire

             the necessary payments, noting that he “assume[d] [Sealed Appellants 1 and 2]

             would want zero paper trail.”Id. at 756.




                                                        11
(12 of 44), Page 12 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 12 of 44




                    On February 13, 2019, the parties fully executed the final agreement. It was

             signed by Victim 1, her husband, her lawyer, Sealed Appellant 2, and Sealed

             Appellant 1 – on his own behalf and on behalf of the Company.4 The agreement

             was not provided or disclosed to the Company’s legal department. In fact, the

             documents provided to us ex parte include communications revealing that Sealed

             Appellant 2 specifically instructed Sealed Appellant 1 to transmit the executed

             agreement in a manner expressly intended to avoid the Company gaining

             knowledge of it.5 The final agreement was stored in the files of Sealed

             4
              The agreement had a signature page that included separate signature lines for Sealed
             Appellant 1 and the Company. Sealed Appellant 1 signed the agreement twice: once on
             his own behalf and once as Chairman of the Company.
             5
               Although we have reviewed the materials contained in the contested documents
             submitted to the district court, and to us, on an ex parte basis, and find nothing in those
             documents that is inconsistent with the district court’s findings and conclusions, we
             have generally limited our discussion of the facts in this opinion to evidence already
             known to the government from other sources. The sentence to which this note is
             attached is the only exception to that practice. Under other circumstances, it would be a
             closer question whether that sentence should be redacted from any version of this
             opinion accessible to the government pending any further review sought by Sealed
             Appellant 1. In this case, however, the documents in question have already been
             provided to the government by Sealed Appellants 2 and 3. See note 10 below. Thus, the
             government is already aware of the contents of the assertedly privileged
             communications, and the only relief that remains available to Sealed Appellant 1 is an
             order that the government return the documents and not present them or any
             statements made by Sealed Appellant 2 in interviews with the prosecution to the grand
             jury or at trial. Under those circumstances, there is no longer any interest in keeping the
             government from learning the contents of the ex parte submission that can outweigh the
             public interest in understanding the reasons for our ruling.

                                                         12
(13 of 44), Page 13 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 13 of 44




             Appellant 3.6 Ultimately, Sealed Appellant 1 made the payments owed under the

             agreement using funds that did not come from the Company.

                    B.      Victim 2 Agreement

                    Beginning in or around January 2022, Sealed Appellants 1 and 2 also

             negotiated an agreement with Victim 2. Victim 2 was hired as an employee at the

             Company in 2019 and worked there until February 2022. Sealed Appellant 1

             allegedly initiated a sexual relationship with her immediately upon her hiring.

             He also allegedly pressured her to have sexual intercourse with other men,

             including another Company executive (“Executive 1“). In March 2021, he

             orchestrated her transfer to a different department, where she worked under

             Executive 1 and received a six-figure raise. Victim 2 alleged that Sealed Appellant

             1 and Executive 1 sexually assaulted her at the Company’s headquarters on at

             least two separate occasions.



             6
               Sealed Appellants 1 and 2 also did not disclose Victim 1’s initial $18 million demand or
             the settlement for $7.5 million to the Company or its auditors, even though Victim 1’s
             claims, which, as noted above, referenced possible claims against the Company,
             remained unresolved on December 31, 2018, the end of the Company’s fiscal year.
             Sealed Appellant 2 also failed to mention the claims in Sealed Appellant 3’s January 31,
             2019, audit response letter, which purportedly disclosed all pending or threatened
             litigation through January 25, 2019. And Sealed Appellant 1 did not mention the claims
             or settlement agreement in his February 7, 2019, management representation letter or
             his fraud inquiry interview with auditors on the same day.

                                                        13
(14 of 44), Page 14 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 14 of 44




                    In January 2022, Victim 2 spoke with Sealed Appellant 1 about a potential

             non-disclosure agreement. During that conversation, Sealed Appellant 1

             allegedly expressed, in substance, that Victim 2 had the Company “over a barrel”

             in light of what she could reveal about him. Joint App’x at 629.

                    In the same month, Sealed Appellants 1 and 2 began again exchanging

             texts – some of which apparently included draft agreements bearing Victim 2’s

             name. They also engaged in several calls of substantial length. On January 20,

             2022, Sealed Appellant 2 sent Victim 2’s lawyer a complete draft agreement. That

             draft provided for Victim 2 to be paid $3 million in exchange for her resignation,

             confidentiality, and release from all claims she had or may have had against

             Sealed Appellant 1 and/or the Company. It also included additional

             consideration in the form of a positive evaluation and recommendation from the

             Company to any possible future employer of Victim 2, at her request.

                    Following additional negotiations over the next week, Sealed Appellant 2

             sent a revised draft to Victim 2’s lawyer. The core terms remained the same.

                    Victim 2 signed the final agreement on January 28, 2022, and her lawyer

             sent the signed agreement to Sealed Appellant 2 on the same day. Three days

             later, Sealed Appellant 2 returned a countersigned page, which was also dated


                                                       14
(15 of 44), Page 15 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 15 of 44




             January 28, 2022. As with the Victim 1 agreement, that page was signed by Sealed

             Appellant 1 on his own behalf and on behalf of the Company.7 The agreement

             again was not provided or disclosed to the Company’s legal department. Instead,

             it too was stored in the files of Sealed Appellant 3.8 Ultimately, as with Victim 1,

             Sealed Appellant 1 made the payments owed to Victim 2 using funds that did not

             come from the Company.

             III.   The Special Committee Investigation

                    On March 30, 2022, the Company’s Board of Directors received an

             anonymous email stating that Sealed Appellant 1 had had an inappropriate

             sexual relationship with Victim 2, and in a subsequent email to the board, the


             7
              This agreement also had a signature page that included separate signature lines for
             Sealed Appellant 1 and the Company. Sealed Appellant 1 again signed the agreement
             twice: once on his own behalf and once as Chairman of the Company.
             8
              Sealed Appellants 1 and 2 also did not disclose Victim 2’s claims or the settlement for
             $3 million to the Company or its auditors, even though Victim 2’s claims, allegedly
             acknowledged by Sealed Appellant 1 to have put the Company “over a barrel,” Joint
             App’x at 629, remained unresolved as of the cut-off date for Sealed Appellant 3’s
             January 31, 2022, audit response letter, which purportedly disclosed all pending or
             threatened litigation through January 26, 2022. (The record demonstrates that Sealed
             Appellant 2 alerted another Sealed Appellant 3 lawyer that it was “Ok to send this [the
             audit response] now” approximately fifteen minutes after sending the countersigned
             page to Victim 2’s lawyer on January 31. Joint App’x at 113; see also Special App’x at 5.)
             Sealed Appellant 1 likewise did not mention the claims or settlement agreement in his
             February 3, 2022, management representation letter or his fraud inquiry interview with
             the auditor the day before.

                                                         15
(16 of 44), Page 16 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 16 of 44




             anonymous individual indicated that the Company had “paid [Victim 2] for her

             silence.” Joint App’x at 447. The Board formed a Special Committee to investigate

             the allegations. During this period, Sealed Appellant 1 stepped down as CEO and

             chairman, though he denied the allegations. He also cautioned one board

             member that digging into allegations about Victim 1 and other women risked

             opening “Pandora’s box” and causing “damage . . . to them . . . and to the

             company for sure.” Id. at 448-50.

                    In June 2022, the Special Committee learned of the agreement between

             Sealed Appellant 1, the Company, and Victim 2. It demanded a copy of that

             agreement and any others between Sealed Appellant 1 and any other current or

             former Company employee. In response to that demand, Sealed Appellant 2

             disclosed copies of the agreements with Victim 1 and Victim 2 to the Company’s

             general counsel for the first time.

                    On July 25, 2022, the Company announced that it would restate its

             financial statements for the years of 2019, 2020, 2021, and the first quarters of

             2021 and 2022 to account for $14.6 million in settlement payments that Sealed

             Appellant 1 had made or committed to make on behalf of the Company between

             2006 and 2022 – including the $10.3 million in payments to Victims 1 and 2. The


                                                       16
(17 of 44), Page 17 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 17 of 44




             Company explained that those payments previously “were not appropriately

             recorded as expenses in the Company’s Consolidated Financial Statements.” Id.

             at 482. However, the Company also concluded that “the quantitative and

             qualitative impact of these accounting errors” was such that the errors “were not

             material to its previously issued financial statements.” Id.

             IV.    The Grand Jury Subpoenas

                    On September 13, 2023, the government served grand jury subpoenas on

             Sealed Appellant 2 and Sealed Appellant 3. Among other requests, the subpoenas

             sought all communications between and among Sealed Appellant 1 and lawyers

             or other personnel of Sealed Appellant 3 concerning Victims 1 and 2. On

             December 12, 2023, Sealed Appellants 2 and 3 substantially completed their

             initial production of materials responsive to the subpoena. The production

             included a privilege log indicating that Sealed Appellants 2 and 3 had withheld

             208 documents based on assertions of attorney-client privilege raised by Sealed

             Appellant 1 and the Company.

             V.     Proceedings Below

                    On January 13, 2024, the government filed a motion to compel production

             of the documents withheld by Sealed Appellants 2 and 3. Sealed Appellants 1, 2,

                                                       17
(18 of 44), Page 18 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 18 of 44




             and 3 opposed the motion. The Company, in contrast, waived any privilege it

             may have had over the documents. The district court permitted the government

             to file its motion under seal and to file certain exhibits in camera and ex parte.

             Following oral argument, it also reviewed the withheld documents in camera. In

             May 2024, while the motion to compel remained pending, Sealed Appellant 1

             informed the court that he was no longer asserting privilege over 38 of the

             documents.

                    On June 3, 2024, the district court granted the motion to compel in part. It

             found probable cause that communications included in the documents were

             made in furtherance of a crime or fraud, vitiating Sealed Appellant 1’s privilege

             claims. Specifically, it held that the government had “established probable cause

             to believe [Sealed Appellant 2] and [Sealed Appellant 1] circumvented [the

             Company’s] internal controls and created false books and records in violation of

             15 U.S.C. §§ 78m(b)(2), 78m(b)(5), and 78ff and 18 U.S.C. § 2, when they

             concealed the Victims’ claims and settlement agreements from [the Company],

             and they made false and misleading statements to the Company’s auditors, in

             violation of 15 U.S.C. §§ 7202, 7242, and 78ff, 18 U.S.C. § 2, and 17 C.F.R.

             § 240.13b2-2.” Special App’x at 11.


                                                       18
(19 of 44), Page 19 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 19 of 44




                    It held that two internal controls were implicated: (1) the control that

             Sealed Appellant 1 had described to auditors in 2019, which required that the

             legal department review “all significant contracts” and (2) another control that

             required the legal department to provide information about potential legal

             contingencies to the accounting department. Id. at 15–16. Sealed Appellants 1 and

             2 argued that these controls had not in fact been in place during the relevant

             period, based on the Company’s later conclusion that its controls environment

             needed to be tightened, but that argument made no headway. The district court

             pointed to Sealed Appellant 1’s own statement and observed that “however lax

             [the Company’s] internal controls were . . . the Accounting Department, not the

             CEO, was responsible for making decisions about how to account for significant

             transactions.” Id. at 16. The district court held that concealing the agreements and

             negotiations from the Company circumvented even those weak controls,

             violating 15 U.S.C. §§ 78m(b)(2), 78m(b)(5), and 78ff. Id.

                    In addition, the district court held that Sealed Appellant 2’s failure to

             mention the Victims’ claims as contingencies in Sealed Appellant 3’s audit

             response letter and Sealed Appellant 1’s failure to disclose the claims or

             settlements in his management representation letters or fraud inquiry interviews


                                                       19
(20 of 44), Page 20 of 44    Case: 24-1588, 03/31/2025,
                                            02/07/2025, DktEntry: 114.2,
                                                                  108.1, Page 20 of 44




             with the auditor amounted to false or misleading statements to the Company’s

             auditors in violation of 15 U.S.C. §§ 7202, 7242, and 78ff, and 17 C.F.R.

             § 240.13b2-2.

                    Because the settlement agreements resolving the Victims’ claims were

             “structured and negotiated . . . to keep them hidden from [the Company],” the

             district court found that “all communications about the claims and settlement

             agreements were made in furtherance of the criminal scheme to keep [the

             Company] and its auditors unaware of the allegations.” Special App’x at 17. As a

             result, the district court held that the crime-fraud exception applied to all but two

             of the remaining documents (which the court determined did not appear to have

             been made in furtherance of the scheme).9

                    Sealed Appellants 1, 2, and 3 now appeal that decision, and the district

             court has stayed its order pending the appeal.10

             9
              The district court also held that Sealed Appellant 1 had waived privilege as to any
             communications sent using the Company’s corporate email system. Sealed Appellants
             1, 2, and 3 do not challenge that decision on appeal.
             10
               Subsequent to the district court’s order, Sealed Appellants 2 and 3 voluntarily
             produced the documents and requested that Sealed Appellant 2 be interviewed
             pursuant to the exception to attorney-client privilege that permits a lawyer to disclose
             privileged communications in order to defend against allegations of wrongful conduct.
             See, e.g., N.Y. Rules of Pro. Conduct 1.6(b)(5)(i). Prior to this disclosure and interview,
             the government and Sealed Appellant 1 reached an agreement that the government
             would not argue that this disclosure constituted a waiver of privilege by Sealed

                                                          20
(21 of 44), Page 21 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 21 of 44




                                                  DISCUSSION

             I.     Jurisdiction

                    Before proceeding to the merits, we first must determine whether we have

             jurisdiction over this matter – an issue the government disputes. “In general, a

             party ‘is entitled to a single appeal, to be deferred until final judgment has been

             entered, in which claims of district court error at any stage of the litigation may

             be ventilated.’” Punn, 737 F.3d at 4, quoting Digital Equip. Corp. v. Desktop Direct,

             Inc., 511 U.S. 863, 868 (1994). In keeping with that principle, 28 U.S.C. § 1291

             extends federal appellate jurisdiction to “appeals from all final decisions of the

             district courts of the United States.” 28 U.S.C. § 1291 (emphasis added). “The

             typical appeal under § 1291 is an appeal from an order that ‘ends the litigation on


             Appellant 1 or mooted this appeal. The government is entitled to waive the issue of
             waiver of privilege. United States v. Saladino, 7 F.4th 120, 124 (2d Cir. 2021) (government
             may waive or forfeit a non-jurisdictional argument by refusing to raise it); United States
             v. Quiroz, 22 F.3d 489, 491 (2d Cir. 1994) (holding that the government waived a
             privilege-based waiver argument by failing to raise it). Its agreement with Sealed
             Appellants 2 and 3, however, is not conclusive of the mootness issue, which goes to our
             jurisdiction. Muhammad v. City of New York Dep’t of Corr., 126 F.3d 119, 122 (2d Cir. 1997).
             “[B]ecause [mootness] is a jurisdictional question, we must examine the issue sua sponte
             when it emerges from the record.” Id. (internal quotation marks omitted). On
             consideration of that issue, however, we agree that the production of the documents
             does not moot this appeal. If the district court’s privilege ruling is erroneous, we can
             provide effective relief by ordering the government to return the documents and not to
             present the materials to the grand jury or use them at any trial that may result from the
             investigation.

                                                         21
(22 of 44), Page 22 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 22 of 44




             the merits and leaves nothing for the court to do but execute the judgment.’”

             Punn, 737 F.3d at 4, quoting Lauro Lines s.r.l. v. Chasser, 490 U.S. 495, 497 (1989);

             see also In re Grand Jury Subpoenas Returnable Dec. 16, 2015, 871 F.3d 141, 146 (2d

             Cir. 2017) (“Our jurisdiction usually is limited to appeals from final judgments.”).

                    “In general, an order denying a motion to quash a grand jury subpoena . . .

             is not immediately appealable under § 1291,” Punn, 737 F.3d at 5, because “[s]uch

             an order generally lacks finality,” In re Grand Jury Subpoena for New York State

             Income Tax Recs., 607 F.2d 566, 569 (2d Cir. 1979). Specifically, such an order

             “leaves to the subpoenaed party the decision whether or not to comply with the

             subpoena; and if that party does not comply it leaves to the other party the

             decision whether or not it is worthwhile to seek a citation for contempt in order

             to compel disclosure.” Id. Thus, “[t]o obtain appellate review, the subpoenaed

             person ordinarily must defy the district court’s enforcement order, be held in

             contempt, and then appeal the contempt order, which is regarded as final under

             § 1291.” Punn, 737 F.3d at 6, quoting In re Air Crash at Belle Harbor, New York on

             November 12, 2001, 490 F.3d 99, 104 (2d Cir. 2007).

                    “In some instances, however, the obligation to submit to contempt is

             excused because ‘the purposes underlying the finality rule require a different

                                                        22
(23 of 44), Page 23 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 23 of 44




             result.’” Id., quoting In re Air Crash, 490 F.3d at 105. One such instance is the

             Perlman exception. See Perlman v. United States, 247 U.S. 7 (1918). Louis Perlman

             was a witness for the plaintiff in a patent infringement suit. Id. at 8–9. In

             connection with that suit, he produced certain materials, which were used as

             exhibits at trial. Id. The materials were his personal property. Id. at 8. After the

             case was submitted, the plaintiff moved to discontinue the action and dismiss it

             without prejudice. Id. The court granted the motion on the condition that the trial

             evidence, including Perlman’s exhibits, be impounded in the custody of the clerk

             of court. Id. at 9. Later, Perlman learned that (1) the lawyers in the patent

             infringement suit had been ordered to show cause why the exhibits should not be

             given to prosecutors as part of a grand jury investigation of his actions, and (2)

             none of the lawyers had objected to the order. Id. Perlman then moved to restrain

             the prosecutors from using the exhibits, arguing that doing so would amount to

             an unreasonable seizure under the Fourth Amendment and force Perlman to

             furnish evidence against himself in a criminal proceeding, in violation of the Fifth

             Amendment. Id. at 10, 13. The Supreme Court held that Perlman could

             immediately appeal the district court’s denial of that motion. Id. at 13. Otherwise,

             it explained, Perlman would be “powerless to avert the mischief of the order.” Id.


                                                       23
(24 of 44), Page 24 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 24 of 44




                    In Subpoena Duces Tecum Dated Sept. 15, 1983, where a client appealed a

             district court’s decision denying a motion to quash a grand jury subpoena

             directed at the client’s former law firm, we pointed to Perlman and reached the

             merits of the client’s appeal, noting that in the grand jury context, “[w]e have

             previously held . . . that a client whose attorney has been ordered to produce

             documents as to which the client has a privilege that would be defeated by such

             production may appeal the order as a final order under the doctrine of Perlman.”

             731 F.2d at 1036 n.3, citing In re Katz, 623 F.2d at 124. In In re Katz, we had

             similarly relied on Perlman to hold that an appeal was available to a client whose

             motion to intervene and quash a grand jury subpoena directed at his attorney

             was denied by the district court. 623 F.2d at 123–25.

                    Though our circuit’s cases have not explained these holdings in great

             detail, at least one out-of-circuit case that our cases cite has done so. See, e.g., id. at

             125, citing Velsicol Chemical Corp. v. Parsons, 561 F.2d 671, 673 (7th Cir. 1977). In

             Velsicol Chemical Corp., the Seventh Circuit explained that “[i]t is one thing . . . for

             a lawyer to invoke the privilege when called to testify . . . and quite another to

             expect an attorney to defy a court order directing him to testify” despite his

             client’s assertion of privilege. 561 F.2d at 674. In that case, the lawyer’s


                                                         24
(25 of 44), Page 25 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 25 of 44




             professional obligations would not require him to defy the district court’s order,

             because under the relevant Code of Professional Conduct, “[a] lawyer may reveal

             . . . confidences or secrets when . . . required by law or court order.” Id. at 674 n.1,

             quoting Model Code of Pro. Resp. DR 4-101(C)(2) (emphasis added). Thus, the

             court held, the lawyer should not be “expected to resist the court’s order,”

             despite the client’s continued assertion of privilege. Id. at 674. Based on this

             reasoning, “[an a]ppellant’s contention that his . . . interests are threatened, and

             that his attorney cannot be expected to protect those interests by being held in

             contempt, presents a paradigmatic case” subject to appeal under Perlman. In re

             Katz, 623 F.2d at 125.

                    Before us, the government has argued that the Supreme Court’s more

             recent decision in Mohawk Industries, Inc. v. Carpenter, 558 U.S. 100 (2009), should

             apply here instead of Perlman. In Mohawk, the petitioner attempted to bring an

             appeal in an ongoing civil case after the district court ruled that it had waived the

             attorney-client privilege over certain materials and ordered them disclosed. 558

             U.S. at 103–04. The Eleventh Circuit declined to hear the appeal on the ground

             that the district court’s privilege determination was not final for purposes of 28

             U.S.C. § 1291. Id. at 105. The Supreme Court, in turn, assessed whether the


                                                          25
(26 of 44), Page 26 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 26 of 44




             petitioner’s appeal on privilege grounds should qualify for the “collateral order”

             exception to Section 1291’s final order rule. Id. at 103. The collateral order

             exception permits appeals of “decisions that are conclusive, that resolve

             important questions separate from the merits, and that are effectively

             unreviewable on appeal from the final judgment in the underlying action.” Id. at

             106 (internal quotation marks omitted). The court held that the petitioner’s

             privilege-related discovery order was not eligible for interlocutory appeal

             because it failed the third prong of this standard: it did not render the privilege

             issue “effectively unreviewable” because, in general, “[a]ppellate courts can

             remedy the improper disclosure of privileged material in the same way they

             remedy a host of other erroneous evidentiary rulings: by vacating an adverse

             judgment and remanding for a new trial in which the protected material and its

             fruits are excluded from evidence.” Id. at 109.

                    Since Mohawk, we have joined several other circuits in holding that Mohawk

             controls and “the Perlman exception does not apply” if the privilege holder is a

             party to the litigation in which the subpoena was issued – “even if the subpoena

             was issued to a third party.” United States v. Rosner, 958 F.3d 163, 167 (2d Cir.

             2020) (emphasis added); see also, e.g., United States v. Krane, 625 F.3d 568, 572–73


                                                       26
(27 of 44), Page 27 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 27 of 44




             (9th Cir. 2010); Drummond Co. v. Terrance P. Collingsworth, Conrad & Scherer, LLP,

             816 F.3d 1319, 1324 (11th Cir. 2016); Holt-Orsted v. City of Dickson, 641 F.3d 230,

             238 (6th Cir. 2011). Under those circumstances, we reasoned that “the privilege

             holder may seek recourse through a post-judgment appeal.” Rosner, 958 F.3d at

             167.

                    To date, however, we have “express[ed] no opinion” on “whether the same

             reasoning would apply in the context of a grand jury subpoena,” which is the

             central context of Perlman. Rosner, 958 F.3d at 167 n.1. In contrast, the Third

             Circuit has addressed that question. In In re Grand Jury, it concluded that “the

             Perlman exception remains viable” even after Mohawk where a privilege-holder

             who is the subject of the grand jury’s investigation seeks to appeal a disclosure

             order. 705 F.3d 133, 146 (3d Cir. 2012). The Third Circuit stressed that its

             conclusion followed directly from the particular fact pattern in Perlman, where

             “Perlman himself sought to prevent the disclosure of documents to a grand jury

             that was conducting an investigation into whether he committed perjury in a

             patent infringement action.” Id. Since then, the Third Circuit noted, “[t]he

             Supreme Court has not . . . suggested that Perlman’s status as a grand jury

             subject would today deny him immediate appellate review.” Id.


                                                       27
(28 of 44), Page 28 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 28 of 44




                    Moreover, the Third Circuit stressed, “the Mohawk Court gave no clear

             indication that this was a consequence of its intended holding,” as “[i]t did not

             discuss, mention, or even cite Perlman.” Id. Instead, it focused on the finer points

             of the collateral order doctrine – a different, albeit related, exception to Section

             1291‘s finality requirement. Id. Given that lack of discussion and Perlman’s core

             fact-pattern, the Third Circuit “decline[d] to hold that the Supreme Court

             narrowed the Perlman doctrine—at least in the grand jury context—sub silentio.”

             Id. at 145.

                    Now squarely faced with the same issue, we agree. The Supreme Court has

             repeatedly instructed that “[a] Court of Appeals should follow the case which

             directly controls, leaving to [the Supreme Court] the prerogative of overruling its

             own decisions” – even when that case “appears to rest on reasons rejected in

             some other line of decisions.” Rodriguez de Quijas v. Shearson/Am. Exp., Inc., 490

             U.S. 477, 484 (1989); see also Mallory v. Norfolk S. Ry. Co., 600 U.S. 122, 136 (2023)

             (same). Here, Perlman is directly on point. Thus, even though Mohawk is more

             recent, it leaves our Perlman jurisprudence undisturbed.11

             11
               In any event, we conclude independently that Mohawk is significantly distinguishable
             from Perlman. The appellant in Mohawk was a party to an ongoing civil litigation. As the
             Supreme Court pointed out, any harm to its interests could be remedied by an appeal of
             an adverse judgment in that litigation, thus defeating application of the collateral order

                                                        28
(29 of 44), Page 29 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 29 of 44




                    As a result, we have jurisdiction here. Like the appellants in In re Katz and

             Subpoena Duces Tecum Dated Sept. 15, 1983, Sealed Appellant 1 objects to an order

             compelling his former lawyer and law firm to produce documents over which he

             continues to assert privilege. In re Katz, 623 F.2d at 124–25; Subpoena Duces Tecum

             Dated Sept. 15, 1983, 731 F.2d at 1036 & n.3. And like the lawyer in Velsicol

             Chemical Corp., Sealed Appellants 2 and 3 are not bound by their professional

             obligations to maintain Sealed Appellant 1’s privilege in the face of a contrary

             court order. 561 F.2d at 674.12 Like the Seventh Circuit in that case, we do not

             expect lawyers, as officers of the court, to defy a court order and be held in

             contempt to protect a client’s privilege, where the obligations of their profession




             doctrine. Mohawk, 558 U.S. at 109. The grand jury context is significantly different. No
             criminal proceeding is under way, and Sealed Appellant 1 is not a party to the grand
             jury’s investigation. See United States v. Calandra, 414 U.S. 338, 343–44 (1974) (describing
             the grand jury as an “ex parte investigation” and “not an adversary hearing”). The
             course of the investigation is unpredictable, but it is clear that disclosure of privileged
             materials to the grand jury could prejudice Sealed Appellant 1 in the eyes of the grand
             jurors. That is a present harm, warranting an immediate appeal. Accordingly, we
             believe that Perlman and Mowhawk are not inconsistent. Even if we were permitted to
             anticipate the Supreme Court’s future overruling of Perlman, we believe that the Court,
             if and when it confronts the question, would hold that Perlman remains good law.

             12
               Under the rules of professional conduct applicable in all states relevant to this matter,
             a lawyer’s confidentiality obligation is no longer mandatory in the face of a court order.


                                                          29
(30 of 44), Page 30 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 30 of 44




             do not demand such defiance.13 Thus, without an appeal, Sealed Appellant 1

             would be “powerless to avert the mischief of the order.” Perlman, 247 U.S. at 13.14

                    At oral argument, the government pointed to two cases – National Super

             Spuds, Inc. v. New York Mercantile Exchange, 591 F.2d 174 (2d Cir.1979), and In re

             Air Crash, 490 F.3d 99 – that it said nevertheless stood for the proposition that the

             third party subject to the subpoena must be “disinterested” for the Perlman

             exception to apply. However, both cases are distinguishable from Subpoena Duces

             Tecum Dated Sept. 15, 1983 and In re Katz. In In re Air Crash, the lawyer to whom

             the subpoena was directed sought to appeal – not the client who held the

             privilege. 490 F.3d at 106. This Court held that the Perlman exception was

             inapplicable specifically because that exception “is relevant only to appeals

             brought by the holder of a privilege where the disputed subpoena is directed




             13
               To be clear, we do not suggest that state rules governing the legal profession could
             provide lawyers with a defense to a contempt charge or authorize lawyers to defy a
             subpoena. No such issue is presented in this case.

             14
               Indeed, as discussed in note 10 above, the actual events in this case demonstrate that
             powerlessness. Although Sealed Appellants 2 and 3 asserted Sealed Appellant 1’s
             privilege in response to the subpoenas, they produced the materials once their assertion
             of privilege was overruled, just as our decisions in this area predicted lawyers would
             do.


                                                        30
(31 of 44), Page 31 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 31 of 44




             at someone else.” Id.15 And in National Super Spuds, we dismissed an appeal on the

             grounds that the individual subpoenaed was not, in effect, a third party. 591 F.2d

             at 179–80. Instead, that individual was an administrator for a government entity

             that was a party to the civil litigation at issue. Id. at 175. That administrator was

             “a responsible . . . employee who ha[d] dutifully followed the instructions of [the

             party’s] counsel not to answer the questions at issue” and was “subject to the

             control of the . . . entity asserting [the] privilege.” Id. at 179 & n.7. Under those

             circumstances, the validity of the Perlman exception was “more difficult to

             sustain,” id. – especially because the only consequence of the employee entering

             contempt would be a fine, paid not by the employee but by his employer, id. at

             180. Here, in contrast, Sealed Appellants 2 and 3 are an independent lawyer and

             law firm not subject to similarly close control by Sealed Appellant 1. See also

             Subpoena Duces Tecum Dated Sept. 15, 1983, 731 F.2d at 1036 n.3 (distinguishing




             15
               We also declined that appeal on the basis that a lawyer who sought to appeal the
             privilege designation on his client’s behalf, without that client’s participation, “does not
             lack countervailing motivations to submit to contempt,” because “the refusal to submit
             to such contempt under any circumstances might drive away clients in the future.” In re
             Air Crash, 490 F.3d at 107. However, while our assessment of these incentives remains
             true, we decline to require a client who seeks to assert privilege on his own behalf to
             rely wholly on those “countervailing motivations” for protection.


                                                          31
(32 of 44), Page 32 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 32 of 44




             National Super Spuds on similar grounds). Thus, neither case alters our analysis

             here.

                     Because we have jurisdiction over the present dispute via Sealed Appellant

             1’s appeal and because the government does not contest his standing to appeal,

             we need not address whether Sealed Appellants 2 and 3 have themselves

             demonstrated jurisdiction or standing to reach the merits of this appeal.16

             II.     Crime-Fraud Exception

                     On the merits, the government does not dispute that the materials at issue

             are presumptively privileged; thus, our next question is whether the district court

             properly held that those materials are subject to the crime-fraud exception, which

             would void that privilege. “The crime-fraud exception strips the privilege from

             attorney-client communications that were made “‘in furtherance of contemplated

             or ongoing criminal or fraudulent conduct.’” In re John Doe, Inc., 13 F.3d 633, 636

             (2d Cir. 1994), quoting Subpoena Duces Tecum Dated September 15, 1983, 731 F.2d at

             1038.




             16
               To the extent that Sealed Appellants 2 and 3 raise helpful arguments in their briefing,
             we have treated that briefing “as, in effect, an amicus curiae submission.” Melito v.
             Experian Mktg. Sols., Inc., 923 F.3d 85, 92 (2d Cir. 2019).

                                                        32
(33 of 44), Page 33 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 33 of 44




                    A party seeking to invoke the crime-fraud exception must demonstrate

             that there is probable cause (1) “that the client communication or attorney work

             product in question was itself in furtherance of the crime or fraud” and (2) “to

             believe that the particular communication with counsel or attorney work product

             was intended in some way to facilitate or to conceal the criminal activity.” In re

             Richard Roe, Inc., 168 F.3d 69, 71 (2d Cir. 1999) (emphasis in original and internal

             quotation marks omitted). Stated differently, this standard requires “that a

             prudent person [would] have a reasonable basis to suspect the perpetration or

             attempted perpetration of a crime or fraud, and that the communications were in

             furtherance thereof.” In re John Doe, 13 F.3d at 637, quoting Subpoena Duces Tecum

             Dated September 15, 1983, 731 F.2d at 1039. Under the exception, the attorney need

             not be aware that “his advice is sought in furtherance of such an improper

             purpose.” Subpoena Duces Tecum Dated September 15, 1983, 731 F.2d at 1038. “The

             fact that an innocent explanation may be consistent with the facts alleged . . .

             [also] does not negate probable cause.” United States v. Fama, 758 F.2d 834, 838 (2d

             Cir. 1985).

                    We generally review rulings on the applicability of the attorney-client

             privilege for abuse of discretion. United States v. Mejia, 655 F.3d 126, 131 (2d Cir.


                                                       33
(34 of 44), Page 34 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 34 of 44




             2011). An abuse of discretion occurs when the district court bases its ruling “on

             an erroneous view of the law or on a clearly erroneous assessment of the

             evidence.” Id. at 132 (citation omitted). We review the factual determinations

             underlying a determination that the crime-fraud exemption vitiates the privilege

             for clear error. United States v. Jacobs, 117 F.3d 82, 87 (2d Cir. 1997), abrogated in

             part on other grounds by Loughrin v. United States, 573 U.S. 351 (2014). “Clear error”

             exists only when we are “left with a definite and firm conviction that a mistake

             has been committed.” United States v. Rajaratnam, 719 F.3d 139, 153 (2d Cir. 2013),

             quoting Brown v. Plata, 563 U.S. 493, 513 (2011).

                    Following that standard, we hold that the district court did not abuse its

             discretion in applying the crime-fraud exception to the disputed documents here.

                    First, it is a federal crime to willfully “circumvent . . . a system of internal

             accounting controls or . . . falsify any book, record, or account.” 15 U.S.C.

             §§ 78m(b)(5) (prohibiting circumvention and falsification), 78ff(a) (criminalizing

             willful violations of those prohibitions). “‘Internal accounting controls’ refers to

             the mechanism by which companies monitor their accounting system . . . for

             errors and irregularities in order to safeguard company assets and ensure that

             records are sufficiently reliable.” In re Ikon Office Sols., Inc., 277 F.3d 658, 672 n.14


                                                         34
(35 of 44), Page 35 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 35 of 44




             (3d Cir. 2002); accord, Monroe v. Hughes, 31 F.3d 772, 773 (9th Cir. 1994) (noting in

             passing that “internal controls” are “the procedures used by the company to

             assure the reliability of its financial records”). “Examples of internal controls

             include manual or automated review of records to check for completeness,

             accuracy and authenticity; a method to record transactions completely and

             accurately; and reconciliation of accounting entries to detect errors.” McConville

             v. SEC, 465 F.3d 780, 790 (7th Cir. 2006).

                    Next, the district court properly held that probable cause exists to believe

             that the Company’s internal controls included a requirement that its legal

             department review all significant contracts. The support for the existence of this

             control came from Sealed Appellant 1 himself. When asked to identify controls

             that the Company relied on to ensure certain transactions were properly

             approved and reflected in its financial records, he explained that the “[l]egal

             department reviews all significant contracts.” Joint App’x at 228. That statement

             was not casual. It was made by Sealed Appellant 1 in his role as the Company’s

             CEO and chairman to the Company’s auditors in a formal interview aimed at

             determining the Company’s “risk of fraud and other material misstatements” in

             its accounting. Id. at 225 (capitalization removed). In that context, it was in Sealed


                                                          35
(36 of 44), Page 36 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 36 of 44




             Appellant 1’s interest to tout the company’s robust internal controls, and the

             record reflects that the Company’s auditors in fact relied on his statement to

             assess the risk of corruption faced by the Company as “low.” Id. at 146. Thus,

             Sealed Appellant 1’s statement provides clear support for the existence of such a

             control.

                    Moreover, such a legal contracts control fits neatly within other courts’

             understanding of internal controls. See, e.g., McConville, 465 F.3d at 790, Ikon, 277

             F.3d at 672 n.14; Monroe, 31 F.3d at 773. Legal review of all significant contracts

             would help ensure the completeness, reliability, and accuracy of financial records

             by, for example, ensuring that all liabilities were properly documented. From this

             evidence, a prudent person would have a reasonable basis to believe that a legal

             contracts control in fact existed.

                    Nevertheless, Sealed Appellant 1 argues that a CEO’s recorded statement

             to auditors that a control exists is not sufficient evidence that the CEO’s company

             in fact has such a control in place – at least in the absence of any internal policy

             documents describing the control in writing. Specifically, he notes that only after

             the Special Committee’s investigation did the Company announce it would be

             instituting a written control providing that future quarterly statements to which


                                                       36
(37 of 44), Page 37 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 37 of 44




             its executives would be required to attest would “include appropriate

             representation that all agreements have been properly reported to the accounting

             department.” Sealed Appellant 1‘s Br. at 50–51, quoting Joint App’x at 518. That

             update, he urges, indicates that no such legal contracts control existed during the

             period relevant here.

                    But the Company’s announcement does not say that it planned to institute

             a new legal contracts control – it notes a new requirement that officers

             affirmatively attest that all agreements have been properly reported. An

             attestation requirement would be compatible with a pre-existing legal contracts

             control like the one described by Sealed Appellant 1 in 2019 – it could strengthen

             as easily as create such a control. And indeed, this additional requirement was

             explicitly intended “to enhance” the Company’s process for identifying and

             reporting agreements. Joint App’x at 518 (emphasis added). Thus, the new

             attestation requirement does not undermine the district court’s finding in the

             way Sealed Appellant 1 suggests.

                    Moreover, as the government observes, Sealed Appellant 1 “identifies no

             legal requirement for internal controls to be memorialized in any particular

             format.” Appellee’s Br. at 30. Rather, he cites United States v. Wittig for the


                                                       37
(38 of 44), Page 38 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 38 of 44




             proposition that internal controls should be demonstrated through “policy

             document[s]” like internal questionnaires completed by company executives. See

             Sealed Appellant 1’s Br. at 49, citing 575 F.3d 1085 (10th Cir. 2009). But first, at no

             point does that case (which is out-of-circuit authority in any event) hold that a

             specific form of documentation is necessary for an internal control to exist for

             purposes of Sections 78m(b)(5) and 78ff(a). See generally Wittig, 575 F.3d 1085.

             And second, he fails to differentiate the questionnaire at issue in that case from

             the type of audit interview at issue here, which similarly involved standard,

             controls-minded questions directed at a company executive, the answers to

             which were also recorded in writing.

                    In sum, the fact that it might be prudent for a company to ensure that all the

             controls on which it relies are recorded in a particular internal format does not

             necessarily mean that a control exists only if it is documented that way. That

             observation is especially salient where the control aligns with common sense

             (like, for example, a requirement that company lawyers review significant

             company-related contracts) and when the company represents externally that the

             control is indeed in place. Thus, Sealed Appellant 1’s counter-arguments do not

             undermine the district court’s finding that there was probable cause to believe


                                                        38
(39 of 44), Page 39 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 39 of 44




             that the Company had a legal contracts control in place during the relevant

             period.

                    Next, the district court also properly held that there was probable cause to

             believe that the victims’ settlement agreements were “significant contracts” for

             purposes of this legal contracts control. Special App’x at 15-16. The Company

             was a party to both agreements, and Sealed Appellant 1 signed the agreements

             both in his personal capacity and in his capacity as Company chairman. Both

             Victims were former Company employees, and the claims at issue in both

             involved alleged workplace sexual misconduct by Sealed Appellant 1, the CEO

             and chairman of the Company, toward them. The agreements they signed

             explicitly noted the “substantial damages which would be done to [Sealed

             Appellant 1] and to [the Company]” should they fail to uphold their confidentiality

             obligations. Joint App’x at 236, 340 (emphasis added). And there is record

             evidence that Sealed Appellant 1 himself stressed to others that if revealed, these

             allegations would cause damage not just to him but also “to the [C]ompany for

             sure,” id. at 449–50, and that Victim 2 reported that Sealed Appellant 1 had told

             her she had the Company “over a barrel” in light of the claims she could reveal,

             id. at 629.


                                                       39
(40 of 44), Page 40 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 40 of 44




                    Ultimately, the settlement agreements promised both victims several

             million dollars in exchange for their silence – $7.5 million for Victim 1 and $3

             million for Victim 2. And though the agreement with Sealed Victim 1 stated that

             Sealed Appellant 1 would “cause . . . [this money] to be paid” to her, the source

             of the funds was not specified – meaning that the agreement did not explicitly

             state that the Company would not be responsible for any payments. Id. at 235.

             The agreement with Victim 2 stated more directly that “[Sealed Appellant 1] will

             pay” the sum provided, but it too did not explicitly disclaim the Company’s

             responsibility for those payments. Id. at 339.

                    Further muddying the waters, the agreement with Victim 1 did specify that

             in the event that she violated her confidentiality obligations “neither [Sealed

             Appellant 1] nor [the Company] shall have any obligation to make any payments

             set forth above.”Id. at 236 (emphasis added), making the earlier lack of specificity

             more notable. Victim 1 thus had a plausible argument that if she did comply with

             her obligations and Sealed Appellant 1 failed to make the required payments, she

             could look to the Company to make those payments instead. And the agreement

             with Victim 2 provided that, should Victim 2 wish for a positive letter of

             recommendation, the Company – not Sealed Appellant 1 – “agrees to provide a


                                                       40
(41 of 44), Page 41 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 41 of 44




             positive evaluation and recommendation to any . . . possible employer of [her].”

             Id. at 340. Given the resulting potential for ambiguity regarding the Company’s

             obligations under the agreements, in addition to the broader potential for liability

             and damage to the Company inherent to the circumstances, a prudent person

             would have a reasonable basis to believe that these agreements were “significant

             contracts” that should have been reviewed by the Company’s legal department

             under the legal contracts control.17

                    Finally, the district court properly held that there was probable cause to

             believe that Sealed Appellant 1 intentionally used Sealed Appellant 2’s legal

             services to circumvent the legal contracts control. First, as discussed above,

             Sealed Appellant 1 was clearly aware of the control – after all, he himself shared

             it with the Company’s auditors. Id. at 228. On top of that, as CEO, he was

             routinely required to certify his awareness of the Company’s internal accounting

             controls in quarterly filings. See 15 U.S.C. § 7241(a). And second, Sealed Appellant

             1 apparently took pains to ensure the agreements were not provided to the

             Company’s legal department. As an initial matter, he relied on external counsel

             17
               That Sealed Appellant 1 actually made the payments from sources other than
             Company funds is irrelevant to whether the agreements were “significant contracts” to
             the Company when made.


                                                       41
(42 of 44), Page 42 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 42 of 44




             to negotiate the agreements, without involving or even alerting the Company’s

             own internal lawyers.18 Additionally, even though the agreements were made on

             behalf of the Company, neither Sealed Appellant 1 nor Sealed Appellant 2

             provided them to the Company for review or record-keeping; instead, both

             agreements were kept in the files of Sealed Appellant 3. When communicating

             with Sealed Appellant 2 about the agreements, Sealed Appellant 1 also

             apparently relied almost exclusively on text messages, rather than his Company

             email. As noted above, the documents provided to us ex parte include

             communications revealing that Sealed Appellant 2 specifically instructed Sealed

             Appellant 1 to transmit the executed agreement via text instead of email for the

             express purpose of avoiding the Company gaining knowledge of it. Draft legal

             agreements for both Victims were apparently exchanged this way as well.

                    Those facts provide a sufficient basis for a prudent person to believe that

             the settlement negotiations and resulting attorney-client communications were

             structured and intended to conceal the resulting agreements from the Company.

             As the district court explained, “[e]very edit to the draft agreement and every

             18
               As the government notes, knowledge within the Company appears to have been
             strictly confined to two employees who had some limited knowledge of certain facts
             surrounding the agreements but were not aware that the Company was a party to them.
             Neither of these employees was a member of the legal or accounting departments.

                                                       42
(43 of 44), Page 43 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 43 of 44




             discussion about the negotiations and how to structure the deals played a role in

             keeping the Victims quiet and the Company . . . in the dark.” Special App’x at 17.

             Intentional concealment of the settlement negotiations from the Company could

             support a finding that Sealed Appellant 1 and Sealed Appellant 2 circumvented

             the legal contracts control – a criminal violation of 15 U.S.C. § 78m(b)(5). As a

             result, the district court properly held that probable cause existed to believe that

             the relevant communications were (1) “in furtherance of [a] crime or fraud” and

             (2) “intended . . . to facilitate or to conceal the criminal activity.” In re Richard Roe,

             168 F.3d at 71 (emphasis omitted). Thus, its application of the crime-fraud

             exception was not an abuse of discretion.19

             19
               We emphasize the limited nature of our review here. The question before us is not
             whether any appellant is guilty of any crime, nor even whether the evidence before us is
             sufficient to permit a jury to find any crime beyond a reasonable doubt. The probable
             cause standard we address requires a more limited inquiry. As where that standard is
             used to determine the propriety of a search or seizure, the applicability of the crime-
             fraud exception involves determining whether the evidence presented justifies an
             intrusion into a legally-protected zone of privacy in the interest of permitting
             authorities to obtain evidence bearing on whether criminal charges should be brought.
             Many of the arguments made by Sealed Appellant 1 raise legitimate questions about
             what inferences should be drawn from the evidence presented. Those are questions that
             have yet to be assessed even by the prosecution and the grand jury in deciding whether
             to bring charges, let alone by a trial jury, which – if any charge is brought, would have
             to assess a more extensive record, under the rigorous constraints of an adversarial trial,
             by the demanding standard of proof beyond a reasonable doubt. We of course express
             no view about any of the questions to be decided by prosecutors, grand jurors, or any
             potential trial judge and jury as the investigation progresses. We hold only that the
             district court’s finding of probable cause was not the product of clear factual error or

                                                         43
(44 of 44), Page 44 of 44   Case: 24-1588, 03/31/2025,
                                           02/07/2025, DktEntry: 114.2,
                                                                 108.1, Page 44 of 44




                    Because we hold that the district court did not err in deciding that these

             documents are subject to the crime-fraud exception based on the legal contracts

             control theory, we decline to address whether they are also subject to the

             exception on the other bases addressed by the district court.

                                               CONCLUSION

                    Accordingly, we AFFIRM the judgment of the district court.




             abuse of discretion.

                                                       44
